                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                   No. 7:23-CV-897

IN RE:                        )
CAMP LEJEUNE WATER LITIGATION )
                              )
This Pleading Relates to:     )
ALL CASES                     )

                           PLAINTIFFS’ LEADERSHIP GROUP’S
                          MOTION TO COMPEL PRODUCTION OF
                          CERTAIN DIGITIZED MUSTER ROLLS

        Pursuant to Fed. R. Civ. P. 34 & 37, the Plaintiffs’ Leadership Group (“PLG”) respectfully

requests that the Court compel the government to produce the digitized Camp Lejeune muster rolls

generated during a digitization project carried out from 2013-2015 by the United States Marine

Corps and the Veteran’s Administration. In support of this motion, the PLG shows as follows:

        1.      The phrase “muster rolls” refers to reports that document the military personnel

attached to a particular unit or station within the United States Marine Corps (“USMC”). If you

know a Marine’s unit or station, it is possible to access the applicable muster rolls and identify

where the Marine was physically present during certain periods of time. Muster rolls are especially

important to Camp Lejeune Justice Act (“CLJA”) litigation, because the muster rolls will

frequently reveal where a Marine was present on Camp Lejeune, and when.

        2.      The USMC and the Veteran’s Administration (“VA”) recently partnered on a

muster roll digitization project specifically related to Camp Lejeune. The digitization project took

place from 2013 to 2015 and involved the digitization of almost 61 million pages of muster rolls

generated from 1940 to 2005 and specific to Camp Lejeune (the “Project”). The critical importance

of these digital files to the CLJA litigation is self-evident.




             Case 7:23-cv-00897-RJ Document 140 Filed 02/20/24 Page 1 of 4
          3.      The PLG’s First Set of Requests for Production, RFP No. 3, specifically referenced

the Project and requested production of all digitized muster rolls. To date, the government has

failed to produce the these digitized muster rolls generated during the Project.

          4.      The PLG requests that the Court enter an order compelling production of the digital

muster rolls generated by the Project. The PLG also requests that the Court compel the government

to produce any database or other data sources generated as a result of this digitization Project. Such

data may enable the PLG to search the contents of the muster rolls.

          5.      In a Text Order of February 7, 2024, the Court required that the PLG file any motion

to compel the pertinent digitized muster rolls within 10 days. [D.E. 134]. Since Monday February

19, 2024 if a federal holiday, the deadline for the present motion is Tuesday February 20, 2024

pursuant to Fed. R. Civ. P. 6(a)(1)(C).

          6.      The PLG certifies that there have been good faith efforts to resolve this dispute, and

that those efforts have failed.

          WHEREFORE, the PLG respectfully requests that the Court compel the government to

produce the digitized muster rolls generated during the Project, including any database created

during the referenced Project, and for such other and further relief as the Court deems just and

proper.

                             [Remainder of Page Intentionally Left Blank]




                                                    2

               Case 7:23-cv-00897-RJ Document 140 Filed 02/20/24 Page 2 of 4
    DATED this 20th day of February, 2024.

/s/ J. Edward Bell, III                             /s/ Zina Bash
J. Edward Bell, III (admitted pro hac vice)         Zina Bash (admitted pro hac vice)
Bell Legal Group, LLC                               Keller Postman LLC
219 Ridge St.                                       111 Congress Avenue, Suite 500
Georgetown, SC 29440                                Austin, TX 78701
Telephone: (843) 546-2408                           Telephone: 956-345-9462
jeb@belllegalgroup.com                              zina.bash@kellerpostman.com

Lead Counsel for Plaintiffs                         Co-Lead Counsel for Plaintiffs and
                                                    Government Liaison Counsel

/s/ Elizabeth J. Cabraser                           /s/ W. Michael Dowling
Elizabeth J. Cabraser (admitted pro hac vice)       W. Michael Dowling (NC Bar No. 42790)
Lieff Cabraser Heimann & Bernstein, LLP             The Dowling Firm PLLC
275 Battery Street, 29th Floor                      Post Office Box 27843
San Francisco, CA 94111                             Raleigh, North Carolina 27611
Telephone: (415) 956-1000                           Telephone: (919) 529-3351
ecabraser@lchb.com                                  mike@dowlingfirm.com

Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs

/s/ Robin L. Greenwald                               /s/ James A. Roberts, III
Robin L. Greenwald (admitted pro hac vice)          James A. Roberts, III
Weitz & Luxenberg, P.C.                             Lewis & Roberts, PLLC
700 Broadway                                        3700 Glenwood Ave., Ste. 410
New York, NY 10003                                  Raleigh, NC 27612
Telephone: 212-558-5802                             Telephone: (919) 981-0191
rgreenwald@weitzlux.com                             jar@lewis-roberts.com

Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs



/s/ Mona Lisa Wallace
Mona Lisa Wallace (N.C. Bar No.: 009021)
Wallace & Graham, P.A.
525 North Main Street
Salisbury, North Carolina 28144
Tel: 704-633-5244
mwallace@wallacegraham.com

Co-Lead Counsel for Plaintiffs




                                                3

       Case 7:23-cv-00897-RJ Document 140 Filed 02/20/24 Page 3 of 4
                               CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 20th day of February, 2024.


                                              /s/ J. Edward Bell, III________________
                                              J. Edward Bell, III




                                                4

         Case 7:23-cv-00897-RJ Document 140 Filed 02/20/24 Page 4 of 4
